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IDogmufJ [Order Granting Motion for Payment Unclaimed Funds]


                                              UNITED STATES BANKRUPTCY COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION
                                                      www.flmb.uscourts.1Nv

In re:                                                                                      Case No. 8:09-bk-07455-KRM
                                                                                            Chapter 13
Angel Rafael Leal

Angela Maria Perez-Leal
             Debtor*                I

                        ORDER GHANT/NG MOTION FOR PAYMENT OF UNCLAIMED FUNDS

   THIS CASE came on for consideration, without a hearing, of the Motion for Payment of Unclaimed Funds (the
"Motion"). The Motion was filed on February 17, 2015, by Dilks & Knopik, LLC on behalf of Sallie Mae Trust,
successor in interest to Sallie Mae Trust. Having verified that the sum of $343.99 has been deposited in the
Unclaimed Funds Registry of the Court, the Court finds that the Motion should be granted.

   Accordingly it is

   ORDERED:

   1. The Motion is granted.

   2. The Court's Financial Deputy shall prepare a payment voucher to be sent to the United States District Court in
Orlando, Florida, for payment of the sum of$ 343.99 to:

   Navient Solutions, Inc.
   c/o Dilks & Knopik, LLC
   35308 SE Center Street
   Snoqualmie, WA 98065-9216




          Dated:     March 04, 2015
                                                    K.Rod~~
                                                    United States Bankruptcy Judge

Clerk's Office shall serve this Order on interested parties.

Original to Financial Administrator
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
